                                                                            FILEl' ^ OPEN COURT
                                                                                 U.S.D.C.-A&iffta


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                                                                            JAMESJlt^J^Oterit
                                                                                      £N, Oter

                 GUILTY PLEA and PLEA AGREEMENT                                       ^<D&t>Lriy Cterfc
United                         States       Attorney                    /,
Northern Disb-ict of Georgia




                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION
           CRIMINAL NO. 1:21-CR0087-MLB-JKL (CRIMINAL INFORMATION)

    The United States Attorney for the Northern District of Georgia (//the

Government) and Defendant Dolegario Carranza-Ontiveros enter into this plea

agreement as set forth below in Part IV pursuant to Rules ll(c)(l)(A) & (B) of the

Federal Rules of Criminal Procedure. Dolegario Carranza-Ontiveros/ Defendant,

having received a copy of the above-numbered Information and having been

arraigned/ hereby pleads GUILTY to Counts 1 and 2.

                                 I. ADMISSION OF GUILT

    1. The Defendant admits that he is pleading guilty because he is in fact guilty

of the crime(s) charged in Counts 1 and 2.

                II. ACKNOWLEDGMENT & WAIVER OF RIGHTS

    2. The Defendant understands that by pleading guilty/ he is giving up the

right to plead not guilty and the right to be tried by a jury. At a trial/ the

Defendant would have the right to an attorney/ and if the Defendant could not

afford an attorney/ the Court would appoint one to represent the Defendant at

trial and at every stage of the proceedings. During the trial/ the Defendant would

be presumed innocent and the Government would have the burden of proving

him guilty beyond a reasonable doubt. The Defendant would have the right to

confront and cross-examine the witnesses against Hm. If the Defendant wished/

he could testify on his own behalf and present evidence in his defense/ and he
could subpoena witnesses to testify on his behalf. If/ however/ the Defendant did

not wish to testify/ that fact could not be used against him/ and the Government

could not compel him to incriminate himself. If the Defendant were found guilty

after a trial/ he would have the right to appeal the conviction.

   3. The Defendant understands that by pleading guilty/ he is giving up all of

these rights and there will not be a trial of any kind.

   4. By pleading guilty/ the Defendant also gives up any and all rights to pursue

any affirmative defenses/ Fourth Amendment or Fifth Amendment claims/ and

other pretrial motions that have been filed or could have been filed.

   5. The Defendant also understands that he ordinarily would have the right to

appeal his sentence and/ under some circumstances/ to attack the conviction and

sentence in post-conviction proceedings. By entering this Plea Agreement/ the

Defendant may be waiving some or all of those rights to appeal and to

collaterally attack his conviction and sentence/ as specified below.

   6. Finally/ the Defendant understands that/ to plead guilty, he may have to

answer/ under oath/ questions posed to him by the Court concerning the rights

that he is giving up and the facts of this case/ and the Defendant's answers/ if

untruthful/ may later be used against him. in a prosecution for perjury or false

statements.


                 III. ACKNOWLEDGMENT OF PENALTIES

   7. The Defendant understands that/ based on his plea of guilty/ he will be

subject to the following maximum and mandatory mmimum penalties:

As to Count 1:

         a. Maximum term of imprisonment 20 years.
         b. Mandatory minimum term of imprisonment None.

         c. Term of supervised release: 3 year(s) to Life.

         d. Maximum fine: $1/000/000.00, due and payable immediately.

         e. Full restitution/ due and payable immediately/ to all victims of the

            offense(s) and relevant conduct.

         f. Mandatory special assessment: $100, due and payable immediately.

         g. Forfeiture of any and all proceeds from the commission of the

            offense and any and all property used or intended to be used to

            facilitate the offense.

As to Count 2:

         a. Maximum term of imprisonment: Life.


         b. Mandatory minimum term of imprisonment 5 years.

         c. Any term of incarceration imposed on this count must be served


            consecutively to any other term of imprisonment

         d. Term of supervised release: 0-5 years.


         e. Maximum fine: $250/000.00, due and payable immediately.

        f. Full restitution/ due and payable immediately/ to all victims of the

            offense(s) and relevant conduct

         g. Mandatory special assessment: $100, due and payable immediately.

        h. Forfeiture of any and all proceeds from the commission of the

            offense^ any and all property used or intended to be used to facilitate

           the offense/ and any property involved in the offense.
   8. The Defendant understands that/ before imposing sentence m this case/the

Court will be required to consider/ among other factors/ the provisions of the

United States Sentencing Guidelines and that/ under certain circumstances/ the

Court has the discretion to depart from those Guidelines. The Defendant further

understands that the Court may impose a sentence up to and including the

statutory maximum as set forth in the above paragraph and that no one can

predict his exact sentence at this time.

   9. REMOVAL FROM THE UNITED STATES: The Defendant recognizes that

pleading guilty may have consequences with respect to his immigration status if

he is not a citizen of the United States. Under federal law/ a broad range of

crimes are removable offenses/ including the offense to which the Defendant is

pleading guilty. Indeed/ because the Defendant is pleading guilty to this offense/

removal is presumptively mandatory. Removal and other immigration

consequences are the subject of a separate proceeding/ however/ and the

Defendant understands that no one/ including his attorney or the District Court/

can predict to a certainty the effect of his conviction on his immigration status.

The Defendant nevertheless affirms that he wants to plead guilty regardless of

any immigration consequences that his plea may entail/ even if the consequence

is his automatic removal from the United States.

                           IV. PLEA AGREEMENT

   10. The Defendant/ his counsel/ and the Government/ subject to approval by

the Court/ have agreed upon a negotiated plea in this case/ the terms of which are

as follows:
                                Dismissal of Counts

   11. The Government agrees that/ upon the entry of the Judgment and

Commitment Order/ any and all remaining counts in Case No. 1:19-CR-155-MLB-

JKL still pending against the Defendant shall be dismissed pursuant to Standing

Order No. 07-04 of this Court and to Rule 48(a) of the Federal Rules of Crimmal

Procedure. The Defendant understands that the Probation Office and the Court

may still consider the conduct underlying such dismissed counts m determirdng

relevant conduct under the Sentencing Guidelines and a reasonable sentence

under Title 18, United States Code/ Section 3553(a).

                              No Additional Charges

   12. The United States Attorney for the Northern District of Georgia agrees not

to bring further criminal charges against the Defendant related to the charges to

which he is pleading guilty. The Defendant understands that this provision does

not bar prosecution by any other federal/ state/ or local jurisdiction.

                                    Fachial Basis

   13. The parties agree that if this case went to trial/ the Government would

prove by admissible evidence and beyond reasonable doubt the following facts:

          a. Between at least March 6/ 2019 and March 28, 2019, Defendant's co-

             conspirator/ Kemp Broadie/ lived at 2405 Paul Avenue/ Atlanta/

             Georgia and distributed heroin and cocaine to others.

         b. In March 2019, Broadie sold cocaine to a confidential source on two

             occasions.


         c. On or about March 27,2019, Broadie spoke to the confidential source

             and agreed to sell drugs to the confidential source a third time.
   SpeciEically/ Broadie agreed to sell the confidential source one

   kilogram of cocaine and one kilogram of heroin. Broadie and the

   confidential source agreed to meet the following day at a hotel to

   conduct the transaction. However/ Broadie indicated he needed

   more time to get that amount of drugs.

d. On March 28, 2019, the day of the anticipated negotiated drug

   transaction/ agents conducted surveillance at Broadie s residence/

   which is located within the Northern District of Georgia. That

   morning/ agents observed the Defendant/ Dolegario Carranza-

   Ontiveros/ and another individual arrive and enter Broadie/s

   residence. The Defendant carried a black messenger style bag.

e. Approximately 20 minutes later/ the Defendant/ Broadie/ and the

   other individual all exited the residence. The Defendant and Broadie

   left in Broadie s vehicle and drove away. GPS data from the

   Defendants and Broadie s telephones show that both telephones

   traveled together from Broadie s residence to an area near Rex/ GA

   and then returned to Broadie s residence approximately two hours

   later. Upon return/ Broadie carried a red bag into his residence.

   Broadie then spoke with the confidential source on the phone and

   confirmed he now had the kilogram of cocaine but did not have the

   whole kilogram of heroin.

f. Broadie then left his residence. The Defendant remained at

   Broadie's residence. Agents followed Broadie and stopped him.

  During a search of Broadie/s vehicle/ agents seized over one
   kilogram of cocaine inside a black duffle bag Broadie carried from

   his residence into his vehicle. Agents also seized a second substance

   later determined to be caffeine. Both substances were packaged into

   bricks stamped with the word BOSS.

g. Agents obtained a search warrant for Broadie's residence. At about

   the same time/ the Defendant left Broadie s residence carrying a

   black messenger style bag which contained a Taurus/ model PT92

   AFS-D/ 9mm pistol.

h. During the search of the residence/ agents located three guns

   including an American Tactical Imports (ATI)/ Omni Hybrid/ multi-

   caliber rifle purchased by the Defendant less than a week before.

   Agents also located the same red bag Broadie carried into the

   residence earlier - that bag contained approximately three kiiograms

   of cocaine also stamped with the word BOSS. The bag was open in

   the living room. Agents also located approximately thirty grams of

   heroin in the kitchen/ additional cocaine that was in the process of

   being packaged/ cutting substances (including caffeine)/ marijuana/

   and two large hydraulic presses. One of the hydraulic presses was

   in the middle of the kitchen floor. The American Tactical Imports

   (ATI)/ Omni Hybrid/ multi-caliber rifle purchased by the Defendant

   and approximately $29,000 cash were found in a bedroom.

i. While he was detained/ the Defendant stated he was at the house to

   purchase cocaine from Broadie for the other individual.




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         j. Cellular phones seized from Defendant were searched and

             contained photographs and videos of what appears to be cocaine

             being weighed ~ including bricks of cocaine stamped with the word

             BOSS similar to the bricks of cocaine seized from Broadie s vehicle.

                   Sentencing Guidelines Recommendations

   14. Based upon the evidence currently known to the Government/ the

Government agrees to make the following recommendations and/or to enter into

the following stipulations.

As to Count 1

Base/Adjusted Offense Level

   15. The Government agrees to recommend and the Defendant agrees that:

         a. The applicable offense gzddeliiie is Section 2D1.1.

         b. The criminal activity undertaken by the Defendant and others acting

            in concert with the Defendant involved at least 1 kilogram of

            cocaine/ all of which was reasonably foreseeable to the Defendant.

                L The Government beUeves and wiU argue/ but the Defendant

                   disagrees/ that the criminal activity undertaken by the

                   Defendant and others acting in concert with the Defendant

                   involved 4/426.87 grams of cocaine/ 30.78 grams of heroin/ and

                   .82 grams of Fentanyl; in total/ a converted drug weight of

                   approximately 918 kilograms of marijuana/ all of which was

                   reasonably foreseeable to the Defendant.
Acceptance of Responsibility

   16. The Government will recommend that the Defendant receive the two-level

adjustment for acceptance of responsibility pursuant to Section 3EU of the

Sentencing Guidelines. However/ the Government will not be required to

recommend acceptance of responsibility if/ after entering this Plea Agreement/

the Defendant engages in conduct inconsistent with accepting responsibility.

Thus/ by way of example only/ should the Defendant falsely deny or falsely

attempt to minimize the Defendant s involvement in relevant offense conduct,

give conflicting statements about the Defendant's involvement/ fail to pay the

special assessment fail to meet any of the obligations set forth in the Financial

Cooperation Provisions set forth below/ or participate in additional criminal

conduct/ including unlawful personal use of a controlled substance/ the

Government will not be required to recommend acceptance of responsibility.

               Right to Answer Questions, Correct Misstatements,
                          and Make Recommendations

   17. The parties reserve the right to inform the Court and the Probation Office

of all facts and circumstances regarding the Defendant and this case/ and to

respond to any questions from the Court and the Probation Office and to any

misstatements of fact or law. Except as expressly stated elsewhere in this Plea

Agreement/ the parties also reserve the right to make recommendations

regarding application of the Sentencing Guidelines. The parties understand/

acknowledge/ and agree that there are no agreements between the parties with

respect to any Sentencing Guidelines issues other than those specifically listed.
                        Bi^ht to Modify Recommendations

   18. With regard to the Government s recommendation as to any specific

application of the Sentencing Guidelines as set forth elsewhere in this Plea

Agreement/ the Defendant understands and agrees that/ should the Government

obtain or receive additional evidence concerning the facts underlying any such

recommendation, the Government will bring that evidence to the attention of the

Court and the Probation Office. In addition/ if the additional evidence is

sufficient to support a finding of a different application of the Guidelines, the

Government will not be bound to make the recommendation set forth elsewhere

in this Plea Agreement/ and the failure to do so will not constitute a violation of

this Plea Agreement

                           Sentencing Recommendations

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   19. The Defendant waives and abandons his interest in any property that may

have been seized in connection with this case. The Defendant agrees to the

administrative or judicial forfeiture or the abandonment of any seized property.

The Defendant agrees to hold the United States and its agents and employees

harmless from any claims made in connection with the seizure/ forfeiture^ or

disposal of property connected to this case. The Defendant acknowledges that

the United States will dispose of any seized property/ and that such disposal may

include/ but is not limited to/ the sale/ release/ or destruction of the seized

property. The Defendant agrees to waive any and all constitutional/ statutory/

and equitable challenges in any manner (including direct appeal/ a Section 2255

petition/ habeas corpus/ or any other means) to the seizure/ forfeiture/ and

disposal of any property seized in this case on any grounds.


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   20. The Defendant acknowledges that he is not entitled to use forfeited assets

to satisfy any fine/ restitution/ cost of imprisonment/ tax obligations/ or any other

penalty the Court may impose upon the Defendant m addition to forfeiture.

                        Financial Cooperation Provisions

Special Assessment

   21. The Defendant agrees that he will pay a special assessment in the amount

of $200.00 by money order or certified check made payable to the Clerk of Court/

U.S. District Court/ 2211 U.S. Courthouse/ 75 Ted Turner Drive SW/ Atlanta/

Georgia 30303/ by the day of sentencing. The Defendant agrees to provide proof

of such payment to the undersigned Assistant United States Attorney upon

payment thereof.

Fine/Restitution - Terms of Payment

   22. The Defendant agrees to pay any fine and/or restitution/ plus applicable

interest/ imposed by the Court to the Clerk of Court for eventual disbursement to

the appropriate account and/or victim(s). The Defendant also agrees that the full

fine and/or restitution amount shall be considered due and payable

immediately. If the Defendant cannot pay the full amount immediately and is

placed in custody or under the supervision of the Probation Office at any time/

he agrees that the custodial agency and the Probation Office will have the

authority to establish payment schedules to ensure payment of the fine and/or

restitution. The Defendant understands that this payment schedule represents a

minimum obligation and that/ should the Defendant s financial sihiation

establish that he is able to pay more toward the fine and/or restitution^ the

Government is entitled to pursue other sources of recovery of the fine and/or




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restitution. The Defendant further agrees to cooperate fully in efforts to collect

the fine and/or restitution obligation by any legal means the Government deems

appropriate. Finally/ the Defendant and his counsel agree that the Government

may contact the Defendant regarding the collection of any fine and/or restitution

without notifying and outside the presence of his counsel.

Financial Disclosure

   23. The Defendant agrees that the Defendant will not sell/ hide/ waste/

encumber/ destroy/ or otherwise devalue any such asset worth more than $1/000

before sentencing/ without the prior approval of the Government The Defendant

understands and agrees that the Defendant s failure to comply with this

provision of the Plea Agreement should result in the Defendant receiving no

credit for acceptance of responsibility.

   24. The Defendant agrees to cooperate fully in the investigation of the amount

of forfeiture/ restitution/ and fine; the identification of funds and assets in which

he has any legal or equitable interest to be applied toward forfeiture^ restitution/

and/or fine; and the prompt payment of restitution or a fine.

   25. The Defendant's cooperation obligations include: (A) fully and truthfully

completing the Department of Justice s Financial Statement of Debtor form, and

any addenda to said form deemed necessary by the Government, within ten days

of the change of plea hearing; (B) submitting to a financial deposition or

interview (should the Government deem it necessary) prior to sentencing

regarding the subject matter of said form; (C) providing any documentation

within his possession or control requested by the Government regarding his

financial condition and that of his household; (D) fully and truthfully answering




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aU questions regarding his past and present fmancial condition and that of his

household in such interview(s); and (E) providing a waiver of his privacy

protections to permit the Government to access his credit report and tax

information held by tfhe Internal Revenue Service.

   26. So long as the Defendant is completely truthful/ the Government agrees

that anything related by the Defendant during his financial interview or

deposition or in the financial forms described above cannot and will not be used

against him in the Governments criminal prosecution. However/ the

Government may use the Defendant s statements to identify and to execute upon

assets to be applied to the fine and/or restitution in this case. Further/ the

Government is completely free to pursue any and aU investigative leads derived

in any way from the mter^iew(s)/deposition(s)/financial forms/ which could

result in the acquisition of evidence admissible against the Defendant in

subsequent proceedings. If the Defendant subsequently takes a position in any

legal proceeding that is inconsistent with the

interview(s)/deposition(s)/financial forms-whether in pleadings/ oral argument/

witness testimony/ documentary evidence^ questioning of witnesses/ or any other

manner-the Government may use the Defendant s

m.terview(s)/deposition(s)/financial forms/ and all evidence obtained directly or

indirectly therefrom/ in any responsive pleading and argument and for cross-

examination/ impeachment/ or rebuttal evidence. Further/ the Government m.ay

also use the Defendants interyiew(s)/deposition(s)/financial forms to respond

to arg-uments made or issues raised sua sponte by the Magistrate or District

Court




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                  Recommendations/Stipuladons Non-bmding

   27. The Defendant understands and agrees that the recommendations of the

Government incorporated within this Plea Agreement as well as any

stipulations of fact or guideline computations mcorporated withm this Plea

Agreement or otherwise discussed between the parties/ are not binding on the

Court and that the Court s failure to accept one or more of the recommendations/

stipulations/ and/or guideline computations wiU not constitute grounds to

withdraw his guilty plea or to claim a breach of this Plea Agreement

                            Limited Waiver of Appeal

   28. LIMITED WAF^ER OF APPEAL: To the maximum extent permitted by

federal law/ the Defendant voluntarily and expressly waives the right to appeal

his conviction and sentence and the right to collaterally attack his conviction and

sentence in any post-conviction proceedmg (mcluding/ but not limited to/

motions filed pursuant to 28 U.S.C. § 2255) on any ground/ except that the

Defendant may file a direct appeal of an upward departure or upward variance

above the sentencing guideline range as calculated by the District Court Claims

that the Defendant's counsel rendered constitutionally ineffective assistance are

excepted from this waiver. The Defendant understands that this Plea Agreement

does not limit the Governments right to appeal/ but if the Government initiates a

direct appeal of the sentence imposed/ the Defendant may file a cross-appeal of

that same sentence.




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                             Miscellaneous Waivers

FOIA/Privacy Act Waiver

The Defendant hereby waives all rights/ whether asserted directly or by a

representative/ to request or receive from any department or agency of the

United States any records pertaining to the investigation or prosecution of this

case/ mcluding/ without limitation, any records that may be sought under the

Freedom of Information Act/ Title 5, United States Code/ Section 552, or the

Privacy Act of 1974, Title 5, United States Code/ Section 552a.

                              No Other Agreements

   29. There are no other agreements/ promises/ representations/ or

understandings between the Defendant a^id the Government

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In Open Coirrt this                      ^t>\                 , 2021.




 SI^NSTTJR^(Defen4'^t/s Attp^ney)            SIGNATURE (Defendant)
 B^uce S. Hay^ey ^/ ^^ \                     Dolegario Carranza-Ontiveros
         /'




T&^^z/T^. Sts-^s.
SIGNATURE (Asfe^tant U.g^Attc<mey)
Teresa M. Stolze



 ^•a^A^t^^ 0/uu^^^'
SIGNATURE (Assistant U.S. Attorney)
Garrett L. Bradford


               '%'.


SIGNATURE (Approving Official)
Elizabeth M. Hathaway




                                        15
I have read the Information against me and have discussed it with my attorney. I

understand the charges and the elements of each charge that the Government

would have to prove to convict me at a trial. I have read the foregoing Plea

Agreement and have carefully reviewed every part of it with my attorney. I

understand the terms and conditions contained in the Plea Agreement/ and I

voluntarily agree to them. I also have discussed with my attorney the rights I

may have to appeal or challenge my conviction and sentence/ and I understand

that the appeal waiver contained in the Plea Agreement will prevent me/ with

the narrow exceptions stated/ from appealing my conviction and sentence or

challenging my conviction and sentence in any post'conviction proceeding. No

one has threatened or forced me to plead guilty/ and no promises or inducements

have been made to me other than those discussed in the Plea Agreement The

discussions between my attorney and the Government toward reaching a

negotiated plea in tibus case took place with my permission. I am fully satisfied

with the representation provided to me by my attorney in this case.



                                              ^J^JZOU
SIGNATURE (Defendant) DATE
 Dolegario Carranza-Ontiveros




                                         16
   I am Dolegario Carranza-Ontiveros s lawyer. I have carefully reviewed the

charges and the Plea Agreement with my client To my knowledge/ my client is

making an informed £|n^l voluntary decision to plead guilty and to enter into the




           i^_M^{/\] S.to/z^
SIGNATURE (Defe^ant/s Attorney) DA^E"
Bruce S< Harvey ' / /
Law^Office of Bruce S. Hary^y
14^'Nassau Street/ NW
 Atlanta/ Georgia 30303
(404) 659-4628State Bap^f Georgia Number 335175



Filed m Open Court


This _ day of _. 2021


By-




                                       17
                        U. S. DEPARTMENT OF JUSTICE
                     Statement of Special Assessment Account
This statement reflects your special assessment only. There may be other
penalties imposed at sentencing.


                          ACCOUNT INFORMATION
1 CmMINAL ACTION NO.:        1:21-CR0087-MLB-JKL
DEFENDANTS NAME:             DOLEGARIO CARRANZA-ONTWEROS
PAY THIS AMOUNT:             $200.00


Instructions:
   1. Payment must be made by certified check or money order payable to:
                        Clerk of Court/ U.S. District Court
                     ^personal checks will not be accepted^
   2. Payment must be made to the clerk's office by the day of sentencing.
   3. Payment should be sent or hand delivered to:
                         Clerk/ U.S. District Court
                         2211 U.S. Courthouse
                         75 Ted Turner Drive SW
                         Atlanta/ Georgia 30303
                         (Do Not Send Cash)
   4. Include the defendant s name on certified check or money order.
   5. Enclose this coupon to insure proper and prompt application of payment
   6. Provide proof of payment to the above-signed AUSA within 30 days of the
      guilty plea.




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